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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY

IN RE: VALSARTAN LOSARTAN, MDL No. 2875
AND IRBESARTAN PRODUCTS
LIABILITY LITIGATION       Honorable Robert B. Kugler,
                           District Judge




This Documents Relates to All Actions


           MEMORANDUM OF LAW IN SUPPORT OF
         WHOLESALER DEFENDANTS’ OBJECTIONS TO
    AND MOTION TO MODIFY SPECIAL MASTER ORDER NO. 82
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                                  INTRODUCTION
         Pursuant to Fed. R. Civ. P. 34 and 53, and applicable case law, Wholesaler

Defendants respectfully object to the Special Master’s findings in Special Master

Order (“SMO”) 82 and ask the Court to modify those findings and to require the

Third-Party Payor (“TPP”) Plaintiffs to properly respond to Requests For Production

(“RFPs”) 7, 8, 9, and 11-28. The RFPs properly exercise Wholesalers’ fundamental

rights to seek relevant information on the elements of the TPP Plaintiffs’ certified

UE claim against them, and should be permitted. Conversely, TPP Plaintiffs should

not be permitted to avoid their most basic discovery obligations under the Federal

Rules.

                          STATEMENT OF THE FACTS
         On February 8, 2023, the Court issued its Opinion on Certification of

Plaintiffs’ Proposed Classes under Fed. R. Civ. P. 23 and certified one claim against

Wholesalers—Economic Loss Plaintiffs’ unjust enrichment (“UE”) claim.1 On April

12, 2023, following the March Case Management Conference in which the Court

asked Plaintiffs how they would like to proceed after the class certification rulings,

Plaintiffs filed a letter with the Court proposing a “trial plan” for the first class trial,

involving TPP class representatives and three Manufacturer Defendants (ZHP, Teva,


1
 The original Economic Loss Plaintiffs’ consolidated second amended class action
complaint (ECF No. 398) asserted 18 claims against Wholesalers, but Economic
Loss Plaintiffs only sought certification of one claim—UE—against Wholesalers.
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and Torrent). Although Plaintiffs’ proposed plan for the first TPP trial did not

include any downstream defendants, Plaintiffs still requested discovery from Retail

Pharmacy Defendants and Wholesalers. Specifically, Plaintiffs requested that

Wholesalers produce “cost/profits data for VCDs” and participate in “targeted fact

and expert discovery,” including “targeted” custodial discovery and Rule 30(b)(6)

depositions. ECF No. 2338, pp. 4-5.2

      In response to Plaintiffs’ April 12 letter, the Court entered CMO 32 on April

21, 2023. ECF No. 2343. CMO 32 granted Plaintiffs’ request for “additional

discovery” from Wholesalers in part, and required Wholesalers to provide Plaintiffs

“information that relates to the certified class claims.” Id. (emphasis added). That

information included Wholesalers’ (1) “costs and profits data for VCDs,” (2) “prices

Wholesalers paid for VCDs,” (3) “prices Wholesalers sold VCDs downstream,” and

(4) “targeted discovery and depositions of wholesaler custodians and FRCP 30(b)(6)

deponents.” Id.

      In the midst of all of these discovery demands to Wholesalers, Plaintiffs have

claimed that discovery in this case goes one way only, and Wholesalers are not


2
  Since that time, in meet and confer sessions, TPP Plaintiffs have additionally
advised Wholesalers that their discovery of Wholesalers intends to include discovery
on not just the certified UE claim—the only claim that the TPP class has against
Wholesalers—but all of the claims asserted by all types of plaintiffs that remain after
the motions to dismiss in all master complaints (economic loss, medical monitoring,
and personal injury). This would include numerous causes of action not at issue in
the certified TPP class.
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entitled to any discovery from Plaintiffs. Contrary to Plaintiffs’ representations to

the Court in their June 27, 2023, letter (ECF No. 2443 at 2) and the Special Master’s

statement in SMO 82 (ECF 2469 at 7-8), the Court never issued any order or made

any statement “tabling” the categories of discovery in (1) through (3) until after class

certification. In fact, Magistrate Judge Schneider’s 2020 ruling deferred Plaintiffs’

“price and profit” discovery relevant to Plaintiffs’ UE claim “until after the

defendants’ motions to dismiss are decided or an earlier time for good cause shown.”

ECF 507 at 1-2. The motions to dismiss were decided two years before Plaintiffs

sought to revisit this discovery. As for category (4), there was never a single mention

by the Court or the Magistrate Judge that the types of custodial discovery to

Wholesalers permitted by CMO 32 were in any way “deferred,” “tabled,” or held in

abeyance “pending class certification.” Despite TPP Plaintiffs’ inaccurate statement

otherwise (ECF 2443 at 4), there were no record citations to support this claim in

either Plaintiffs’ letter or SMO 82.3


3
  The Special Master also incorrectly stated, “The Wholesalers asserted that ‘it is
axiomatic that for any transaction for which they seek to recover, Plaintiffs must
prove that a specific Wholesaler sold the VCD and was enriched by the sale.’ (ECF
2372 at 4.) It appears that this dispute between the parties has been resolved as the
issue has not been briefed by the parties.” ECF 2469, p. 2 n.3. To the contrary, this
dispute was repeatedly briefed by Wholesalers. See ECF 2426, p. 2-3, 5, 7-9; ECF
2445, p. 2. Furthermore, at oral argument, Wholesalers again argued that TPP
Plaintiffs must prove that a specific Wholesaler sold the VCD and was enriched by
the sale. ECF 2451, p. 5:15-7:6. Therefore, to the extent the Special Master believes
and/or Plaintiffs argue SMO 82 holds that: (1) Plaintiffs need not prove that a
specific Wholesaler sold the VCD and was enriched by the sale; (2) that issue was
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      While in opposition to Wholesalers’ discovery requests Plaintiffs—and, in

SMO 82, the Special Master—assert that Wholesalers’ 2023 discovery to the TPP

Plaintiffs was “untimely,” in fact, all discovery exchanged between the parties

before the spring of 2023 was “core discovery” geared toward class certification,

with no bar on more fulsome merits discovery between the parties (other than the

parties to the first TPP trial) following the Court’s clarification of what would be

certified and tried. On April 25, 2023, as it seemed apparent to Wholesalers that

merits discovery was then open with respect to the certified claims (see ECF 2343

at 3-4), Wholesalers filed a letter with the Court requesting leave to take fact

discovery from TPP Plaintiffs relevant to the elements of the sole claim certified

against them (UE). Wholesalers asserted that because CMO 32 specifically allowed

Plaintiffs to take discovery anew on their recently certified UE class claim against

Wholesalers, due process mandated that Wholesalers also be permitted to take

discovery from TPP Plaintiffs regarding evidence relevant to the elements of the UE

claim. TPP Plaintiffs balked at Wholesalers’ request, even as they informed

Wholesalers that they would seek further discovery from Wholesalers on uncertified


not briefed and argued; (3) that the parties have resolved that issue; and/or (4) that
Wholesalers have somehow waived their argument that Plaintiffs must produce
responsive information demonstrating—and ultimately prove—that a specific
Wholesaler sold the VCD and was enriched by the sale, Wholesalers object on the
grounds that the Special Master misrepresented the facts and, therefore, drew
incorrect, factually unsupported conclusions.

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claims they believe remain pending in the economic loss case. After several meet

and confers and entry of a briefing schedule, the parties submitted competing briefs

regarding the propriety of certain requests for production made by Wholesalers to

TPP Plaintiffs.4 ECF 2426, 2443, and 2445. The parties argued the issues to the

Special Master on July 6, 2023. The Special Master issued SMO 82 on August 11,

2023, which disallowed on the merits all of Wholesalers’ RFPs (7-28) before him.

Wholesalers now object to SMO 82 and request that the Court modify SMO 82 as

described herein.

                            STANDARD OF REVIEW
      The Court’s appointment of a special master, and the review of a special

master’s decisions, are governed by Federal Rule of Civil Procedure 53. See, e.g.,

Nippon Steel & Sumitomo Metal Corp. v. POSCO, No. 12-2429 (SRC), 2014 U.S.

Dist. LEXIS 42444, *1 (D.N.J. Mar. 26, 2014). Under Rule 53, unless the court sets

a different time, a party may object and move to modify a special master’s order no

later than 21 days after a copy of the order is served. See Fed. R. Civ. P. 53(f)(2).

All objections to the findings of fact made by the special master must be decided de

novo, unless the parties stipulate that the findings will be reviewed for clear error.

See Fed. R. Civ. P. 53(f)(3). Here, there is no stipulation for a clear error review.



4
 In the process of the meet and confers, TPP Plaintiffs agreed to respond to
Wholesalers RFPs 1, 2, and 5(a)-(p).
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Indeed, “[e]ven where a party does not object to a recommendation, a court may

elect to review a special master recommendation de novo.” Ramos v. Banner Health,

No. 15-cv-2556-WJM-MJW, 2018 U.S. Dist. LEXIS 138101, *6 (D. Colo. Aug. 8,

2018). “Upon review, the Court may ‘adopt or affirm, modify, wholly or partly reject

or reverse, or resubmit to the master with instructions.’” Id. (citation omitted).

                                    ARGUMENT
      The Federal Rules of Civil Procedure regarding discovery are intended to give

each party the information it needs to fully and effectively present its respective side

of the case, to inform each party of the basis of its adversary’s claim or defense, and

to provide access to all relevant information. C. Wright, Handbook on the Law of

Federal Courts § 81 (3d ed. 1976). In this case, Judge Kugler has specifically said:

“I have never forced a lawyer to go to trial when they don’t have the discovery they

need in a case. I think we have been very receptive to all sides in this case to meet

the needs of you and your clients to prepare these cases for trial, and I think that will

continue.” See ECF 2151, Aug. 24, 2022 CMC Hr’g Tr. 26:14-18. Denying

Wholesalers the opportunity to seek discovery relevant to the basic elements of the

one claim certified against them, as discussed more fully below, flies in the face of

these basic due process principles and as a result, Wholesalers cannot present a full

and effective defense.




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I.    Objection to SMO 82 Section II.B Ruling Regarding Contracts Between
      TPP Plaintiffs and Wholesalers (RFP 7)
      Wholesalers object to the Special Master’s denial of RFP 7 seeking production

of contracts or agreements between the parties. While the TPP Plaintiffs objected to

RFP 7 to the extent they interpreted it to seek documents beyond the contracts

themselves and contracts about subject-matters unrelated to valsartan-containing

drugs, the TPP Plaintiffs still agreed to produce contracts that “might exist” that

“may relate” to valsartan-containing drugs (“VCDs”). Those are the same

documents that Wholesalers seek via RFP 7. As such, Wholesalers request that the

Court modify SMO 82 to provide for TPP Plaintiffs’ production of the contracts they

stated they have no objection to producing—i.e., those contracts between the TPP

Plaintiffs and Wholesalers that related to VCDs, if any exist.

II.   Objection to SMO 82 Section II.B. Ruling Regarding Communications
      Between TPP Plaintiffs and Wholesalers (RFPs 8-9)
      Wholesalers object to the denial of RFPs 8 and 9 seeking production of the

TPP Plaintiffs’ communications with Wholesalers regarding (1) the Claims,

individually or collectively, at issue (RFP No. 8) and (2) the VCDs made the subject

of the Claims (RFP No. 9). The Special Master disallowed Wholesalers’ RFPs 8 and

9 as “patently overbroad and practically impossible to answer with any precision”

and “not narrowly tailored to discover relevant facts.” As a second basis for his

denial of RFPs 8 and 9, the Special Master concluded, contrary to the record, that


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“[t]here is no need to require Plaintiffs to produce documents the Wholesalers should

already have in their possession.”

      There are multiple errors in the ruling. Wholesalers object to the disallowance

of RFPs 8 and 9 and request that the Court modify SMO 82 to correct those errors

and provide Wholesalers the opportunity to obtain discovery on the communications

that exist (or do not exist) between Wholesalers and TPP Plaintiffs.

      First, the Special Master applied an improper standard to deny Wholesalers’

RFPs 8 and 9, rather than the standard under Federal Rule of Civil Procedure 26(b),

which provides that Wholesalers:

             “[M]ay obtain discovery regarding any non-privileged
             matter that is relevant to any party’s claim or defense and
             proportional to the needs of the case, considering the
             importance of the issues at stake in the action, the amount
             in controversy, the parties relative access to relevant
             information, the parties’ resources, the importance of the
             discovery in resolving the issues, and whether the burden
             or expense of the proposed discovery outweighs its likely
             benefit.

The text of SMO 82 makes plain that the Special Master did not evaluate RFPs 8

and 9 using the required Rule 26(b) standard. The fact that the cases have been

consolidated for pretrial proceedings under 28 U.S.C. §1407 does not vitiate the

Federal Rules of Civil Procedure. In re Nat’l Prescription Opiate Litig., 956 F.3d

838, 841 (6th Cir. 2020). If RFPs 8 and 9 are properly evaluated under Rule 26(b),

those RFPs are plainly permissible.


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      There is no question that communications between the TPP Plaintiffs and

Wholesalers, if any exist, are both non-privileged and relevant. See, e.g., Intarome

Fragrance & Flavor Corp. v. Zarkades, No. 07-973 (DRD) (MAS), 2008 WL

4449629, at *1-2 (D.N.J. Oct. 1, 2008) (finding discovery related to any

communications, business transactions, or agreements between the parties relevant

to various claims, including conversion, misappropriation, unfair competition,

tortious interference, and unjust enrichment). Indeed, the Special Master made no

finding on relevance. The only proper evaluation should be whether RFPs 8 and 9

are proportional to the needs of this case considering the factors set out in Rule 26,

and the fact that TPP Plaintiffs filed no evidence challenging proportionality. That

answer is yes.

      This litigation involves personal injury claims of cancer allegedly caused by

contaminated products, along with certified nationwide and multistate classes

asserting claims for: (1) consumer economic loss; (2) TPP economic loss; and (3)

medical monitoring. The Court has certified 18 subclasses with respect to the TPP

Plaintiffs alone. Just the class economic loss damages alleged by Plaintiffs’ expert

Dr. Rena Conti total over a billion dollars. There is no question that RFPs 8 and 9

are, therefore, proportional to the needs of the case considering the important issues

at stake and the substantial amount in controversy. Further, the TPP class

representative Assignors to whom RFPs 8 and 9 are directed are sophisticated

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insurance companies with ready access to the documents requested as well as

significant resources, including numerous employees and systems, that can be

deployed to respond to Wholesalers’ discovery—just as Wholesalers have been

required to respond to Plaintiffs’ discovery. Indeed, if these TPPs do not have the

resources to produce communications with the defendants they have sued, they are

not appropriate class representatives.

      Finally, and perhaps most importantly, the TPP Plaintiff class representatives

have neither claimed nor shown that the burden and expense of producing their

communications with Wholesalers—if any even exist—outweigh the benefit of this

discovery to the litigation.5 In fact, TPP Plaintiffs have made no showing of

burden—as to this request or any of the others. Similarly, the Special Master made

no finding of burdensomeness with respect to RFPs 8 and 9. Therefore, when

evaluating the propriety of RFPs 8 and 9 using Rule 26(b)’s scope of discovery

standard, there is no question that those requests are proper in the context of this

litigation, they are not burdensome, and they should have been allowed.

      Second, the Special Master erred by adopting without question TPP Plaintiffs’

claim that RFPs 8 and 9 are unnecessary because “Wholesalers would already have

the actual . . . communications with TPP Plaintiffs.” ECF No. 2469 at 9. As



5
 If TPP Plaintiffs have no communications with Wholesalers, then there is no burden
on TPP Plaintiffs to state as much in response to RFPs 8 and 9.
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Wholesalers have repeatedly represented, Wholesalers do not communicate with

TPP Plaintiffs, and Wholesalers do not possess communications with TPP Plaintiffs.

See ECF. No. 2426 at 3 (“Wholesalers and TPPs do not in the ordinary course of

business engage in communications . . . .”); see also ECF. No. 2451, July 6, 2023,

Hrg. Tr. at 37 (“Ms. Davis: There are none (communications). We don’t have any.”).

Judge Vanaskie ignored those undisputed facts, and instead simply accepted

Plaintiffs’ qualified claim that “to the extent those communications exist, the

Wholesalers would naturally also be in possession of those documents.” ECF No.

2443 at 13 (emphasis added).

      TPP Plaintiffs dodged any statement about whether they in fact possess any

communications with Wholesalers by employing this equivocal “to the extent those

communications exist” language. In contrast, Wholesalers affirmatively represented

that they possess no such communications. This should have resulted in approval of

RFPs 8 and 9 to determine whether any communications exist in the possession of

TPP Plaintiffs. Instead, the Special Master erred by merely accepting the TPP

Plaintiffs’ contradicted speculation about what Wholesalers might possess, and then

using that speculation to deny Wholesalers discovery of the communications the

TPP Plaintiffs may possess. If such communications exist, Wholesalers do not have




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them. Thus, Wholesalers have a right to serve RFPs on TPP Plaintiffs to determine

the specific communications in their possession, if any.6

      Third, even accepting the Special Master’s denial of RFPs 8 and 9 on the non-

Rule 26 grounds that the scope of the RFPs are “patently overbroad” and “not

narrowly tailored,” the Special Master’s holding in SMO 82 violates Federal Rule

of Civ. P. 34(b)(2)(C). Rule 34(b)(2)(C) requires that a party objecting to a request

for production “must state whether any responsive materials are being withheld on

the basis of [the] objection.” Simply objecting to requests for production, as TPP

Plaintiffs have done here with respect to Wholesalers’ RFPs 8 and 9 (ECF 2443),

does not obviate the requirement of Rule 34 that Plaintiffs state whether they are

withholding responsive documents. Therefore, Wholesalers further object to SMO

82 to the extent it improperly relieves Plaintiffs of this obligation, and respectfully

request that the Court modify SMO 82 to require Plaintiffs to state whether or not

they are withholding responsive documents subject to their objections. As discussed

below, this is particularly important here because Wholesalers believe the TPP

Plaintiffs have no such responsive documents. The Special Master’s denial of RFPs


6
 The Special Master’s citation to Kowalski v. Stewart, 220 F.R.D. 599, 602 (D. Ariz.
2004), is inapposite to this situation. In Kowalski, the Court denied the requests for
production to the defendant because the plaintiff “failed to explain why he needs
documents he already has in his possession.” In this case, Wholesalers have
explained that they do not possess the documents requested in RFPs 8 and 9.
Therefore, RFPs 8 and 9 are appropriate because, unlike in Kowalski, Wholesalers
do not have possession of the communications they seek via those RFPs.
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8 and 9 permits the TPP Plaintiffs to continue the charade that they may have

documents while avoiding going on record to confirm that they, in fact, possess no

such documents—a circumstance Plaintiffs know is detrimental to their UE claim.

III.   Objection to SMO 82 Section II.D. Ruling Regarding Elements of the UE
       Cause of Action Topic (RFPs 11-16)
       As demonstrated below, Wholesalers’ RFPs 11-16 are targeted requests for

relevant evidence related to the elements of the TPP Plaintiffs’ UE cause of action.

Wholesalers object to SMO 82’s Section II.D., ordering that TPP Plaintiffs need not

respond to those RFPs on the grounds that the Special Master: (1) misinterpreted the

TPP Plaintiffs’ representations about what they have actually produced; and (2) did

not enforce the further requirements of the Federal Rules of Civil Procedure

34(b)(2)(C) and 34(b)(2)(E)(1).

       A.    The RFPs Track the Essential Elements of UE that Plaintiffs Must
             Prove
       This Court has stated that to prevail on a UE cause of action, a plaintiff must

show: “(1) a benefit conferred on the defendant by the plaintiff; (2) an appreciation

or knowledge by the defendant of the benefit; and (3) the acceptance/retention by

the defendant of the benefit under circumstances that make it inequitable for the

defendant to keep the benefit without payment of its value.” ECF No. 1019, MTD

Op. 6 at p. 26. Further, in New Jersey, the UE element that a plaintiff “must confer

a benefit on the defendant” has been interpreted to require that the plaintiff must


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have “a sufficiently direct relationship with the defendant to support the claim.”

Snyder v. Farnam Cos., 792 F.Supp.2d 712, 724 (D.N.J. 2011) (citing Nelson v.

Xacta 3000 Inc., Civ. No. 08-5426 (MLC), 2009 U.S. Dist. LEXIS 109580, at *7

(D.N.J. Nov. 24, 2009)).7

      With these elements in mind, Wholesalers drafted RFPs 11-16, each of which

tracks an element of UE that the TPP Plaintiffs must prove in some relevant state to

win their case as to Wholesalers:

      RFP 11:      benefit conferred by TPP on Wholesaler;
      RFP 12:      portion of benefit unjust for Wholesalers to retain;
      RFP 13:      misleading action by Wholesaler;
      RFP 14:      expectation of remuneration from Wholesaler;
      RFP 15:      wrongdoing/improper conduct by Wholesaler; and
      RFP 16:      action by Wholesaler that caused direct or indirect damage.

      B.     Relevant Evidence is Discoverable
      It is fundamental that the TPP Class Representatives bear the burden of proof

on the UE cause of action, which obligates the TPP Plaintiffs under the Federal Rules

of Civil Procedure to produce in discovery both the evidence on which they will rely



7
  Other relevant states require additional elements, such as (1) plaintiff must confer
a “direct benefit” on the defendant (Vichi v. Koninklijke Philips Elecs. N.V., 62 A.3d
26, 59–60 (Del. Ch. 2012); Sport & Wheat, CPA, PA v. ServisFirst Bank, Inc., 479
F.Supp.3d 1247, 1255 (N.D. Fla. 2020); Johnson v. Microsoft Corp., 834 N.E.2d
791, 799 (Ohio 2005)); or (2) proof of some sort of misleading conduct or
wrongdoing (Hughes v. Chattem, Inc., 818 F.Supp.2d 1112, 1124 (S.D. Ind. 2011);
Bimbo Bakeries USA, Inc. v. Pinckney Molded Plastics, Inc., No. 4:06-CV-180-A,
2007 WL 836874, at *6 (N.D. Tex. Mar. 20, 2007); Albinger v. Harris, 48 P.3d 711,
716 (Mont. 2002)).
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at trial and all other requested evidence relevant to the cause of action. See Fed. R.

Civ. P. 26(b)(1); Love v. N.J. Dep’t of Corr., No. 2:15-CV-4404-SDW-SCM, 2017

U.S. Dist. LEXIS 128905, at *8 (D.N.J. Aug. 11, 2017) (noting that, when a party

serves RFPs, the responding party “must produce all relevant documents in his

possession, custody, or control”) (internal quotations and citations omitted)

(emphasis added). Indeed, “[d]iscovery rules are construed liberally, underscoring

the basic philosophy of the discovery procedure: ‘prior to trial every party to a civil

action is entitled to the disclosure of all relevant information in the possession of any

person, unless the information is privileged.’”8 Trask v. Olin Corp., 298 F.R.D. 244,

257 (W.D. Pa. 2014) (quoting Wright & Miller, 8 Federal Practice and Procedure §

2001, 18 (3d ed. 2010)). A plaintiff may not choose what evidence it wants to

produce, which would obviously include only evidence favorable to the plaintiff, but

must instead produce all relevant evidence, including evidence harmful to the



8
  The Trask court further noted these liberal discovery rules serve several key
purposes: “‘to avoid surprise and the possible miscarriage of justice, to disclose fully
the nature and scope of the controversy, to narrow, simplify, and frame the issues
involved, and to enable a party to obtain the information needed to prepare for trial.’”
Trask v. Olin Corp., 298 F.R.D. 244, 257 (W.D. Pa. 2014) (quoting Wright & Miller,
8 Federal Practice and Procedure § 2001, 22-23 (3d ed. 2010)). Each of these
purposes applies here and underscores the prejudice Wholesalers will face if the TPP
Plaintiffs are allowed to produce only the documents on which they intend to rely
(which ostensibly means Plaintiffs will produce only documents that benefit
Plaintiffs). This proposed slanted production—which is inequitable, unjust, and
contrary to the Federal Rules of Civil Procedure—is insufficient and conflicts with
the purposes underlying the liberal discovery rules. See id.
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plaintiff’s case. Forest Guardians v. Kempthorne, No. 06CV2560-L(LSP), 2008

U.S. Dist. LEXIS 128343, at *8-9 (S.D. Cal. Apr. 1, 2008) (holding that an

administrative agency needed to include in the record both favorable and

unfavorable information, because it would be improper to let it “cherry pick”

information); Sierra Club v. Angelle, No. 19-13966, 2021 U.S. Dist. LEXIS 261428,

at *6 (E.D. La. Mar. 4, 2021) (holding same).

      C.     The    Special   Master    Misinterpreted            TPP      Plaintiffs’
             Representations About Productions
      The Special Master ruled that TPP Plaintiffs need not answer any of RFPs 11

through 16 because Plaintiffs had represented that they had produced all “relevant”

documents. ECF No. 2469, SMO 82 at 11. Wholesalers object to that ruling because

the Special Master incorrectly interpreted the TPP Plaintiffs’ representation to the

Court. SMO 82 states that TPP Plaintiffs represented that they had produced all

relevant evidence related to these RFPs. In fact, the TPP Plaintiffs instead repeatedly

said they had produced or would produce merely “all evidence on which they intend

to rely”, including in response to RFPs 11-16. For example, in TPP Plaintiffs’ June

27, 2023, letter brief, they represented that, with respect to the “Elements of UE

Cause of Action” Topic RFPs 11-16:

             [MSP and MADA] have produced all of the information
             on which they intend to rely to prove the liability and
             damages aspects of their unjust enrichment claims against
             Wholesalers. Lest there was any doubt, MSP and MADA


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             agreed to produce other documents, if any, on which they
             may rely to prove their unjust enrichment claims.

ECF No. 2443, June 27, 2023 Letter Brief from Adam Slater to Special Master

Vanaskie at 15 (emphasis added); see also ECF No. 2426-2, Ex. B to June 13, 2023,

Letter Brief from Wholesalers to Special Master Vanaskie (indicating in tracked

changes to RFPs 11-16 that Plaintiffs would agree to produce only relevant

information on which they intend to rely); see generally ECF No. 2451, July 6, 2023,

Hrg. Tr. at 20:24-23:25.

      As demonstrated supra, the requested evidence is relevant. The Special

Master’s mistake in assuming that the TPP Plaintiffs have produced all relevant

information—when they never made that representation—resulted in the Order that

the TPP Plaintiffs need not respond to further discovery. Because that ruling was in

error, Wholesalers’ objection should be sustained and the TPP Plaintiffs ordered to

fully respond to RFPs 11-16.

      D.     SMO 82 Fails to Order Compliance with Fed. R. Civ. P. 34(b)(2)(C)
             and 34(b)(2)(E)(1).
      Moreover, under the Federal Rules of Civil Procedure 34(b)(2)(C), effective

December 1, 2015, subsection (b)(2)(C) was amended to require that “an objection

to a . . . request must state whether anything is being withheld on the basis of the

objection.” Advisory Committee Notes, 2015 Amendments. The amendment to the

rule created a mechanism for the requesting party to receive notice of “the fact that


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documents have been withheld and thereby facilitate an informed discussion of the

objection.” Id. Yet, the TPP Plaintiffs did not, with their objections, reveal whether

they are either withholding responsive documents or instead have none.9 Throughout

their letter brief and the hearing on the issue, Wholesalers repeatedly requested that

the TPP Plaintiffs answer—or that the Court make them answer—whether they

possess relevant, responsive documents. See Microsoft Corp. v. Softicle.com, No.

2:16-CV-02762-MCA-SCM, 2017 U.S. Dist. LEXIS 163453, at *20 (D.N.J. Oct. 2,

2017) (citations omitted) (when there are no documents responsive to an RFP, a

responder “must state under oath that he is unable to provide the information and set

forth the efforts he used to obtain the information”). In fact, SMO 82 notes,

“Wholesalers speculate that Plaintiffs have no documents to support the [UE] claim,

and should be compelled to admit as much.” ECF No. 2469, SMO at 11. Given the

Special Master’s error about whether TPP Plaintiffs have produced all documents



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  Courts have taken seriously the failure to follow subsection (b)(2)(C). See, e.g.,
Penn Eng’g & Mfg. Corp. v. Peninsula Components, Inc., No. 19-cv-513, 2021 U.S.
Dist. LEXIS 64382, at *7 (E.D. Pa. Apr. 1, 2021) (granting motion to compel
discovery responses for failure to state whether the responding party had withheld
any documents); Chow v. SentosaCare, LLC, No. 19-cv-3541-FB-SJB, 2020 WL
559704, at *3 (E.D.N.Y. Jan. 23, 2020) (threatening sanctions); Bally v. First Nat’l
Bank Omaha, Civ No. 17-10632, 2018 WL 1558861, at *1 (E.D. Mich. Jan. 17,
2018) (compelling production of withheld documents for failure to disclose);
Polycarpe v. Seterus, Inc., No. 6:16-cv-1606-Orl-37TBS, 2017 WL 2257571, at *4
(M.D. Fla. May 23, 2017) (overruling objections); Watkins v. Trans Union, LLC,
2:14-cv-00135-WTJ-MJD, 2018 WL 3008639, at *2 (S.D. Ind. June 15, 2018)
(overruling objections).
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on which they intend to rely versus all relevant documents, it is understandable that

the Special Master did not order the TPP Plaintiffs to reveal whether they are

withholding responsive documents or instead simply have none. But TPP Plaintiffs

have not complied with 34(b)(2)(C) and New Jersey precedent requiring an

admission that no responsive documents are being withheld, leaving Wholesalers

knowing at best only that the TPP Plaintiffs have produced everything they intend

to rely on—meaning, everything favorable to their case.

      Similarly, the Federal Rules dictate that responding parties are required to

identify the Bates numbers of relevant and responsive documents produced

previously. See Fed. R. Civ. P. 34(b)(2)(E)(1). Plaintiffs do not even provide this

information.10 And the Special Master articulated no reason why the TPP Plaintiffs

may be exempt from this obligation. See ECF No. 2469, SMO at 11.

      TPP Plaintiffs do not demonstrate any cause for the special treatment and

deviation from the obligations of the Federal Rules of Civil Procedure that SMO 82

improperly allows them. Therefore, the Court should sustain the Wholesalers’

objections and order that Plaintiffs must fully respond to RFPs 11-16, and under

Federal Rules 34(b)(2)(C) and 34(b)(2)(E)(1) and New Jersey precedent must

produce all relevant requested evidence, state where they have no responsive,



10
  Plaintiffs have demanded that practice from Wholesalers, and Wholesalers have
complied with that process in their previous written discovery responses to Plaintiffs.
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relevant evidence, and state the Bates numbers of responsive documents produced

with regard to all requests.

IV.   Objection to SMO 82 Section II.E. Ruling Regarding Damages to TPP
      Class Representatives Topic (RFPs 17-21)
      For these same reasons, Wholesalers object to SMO 82, Section II.E,11

regarding RFPs 17-21, addressing damages to the TPP Plaintiff Class

Representatives. The Special Master ruled that the TPP Plaintiffs need not respond

to these RFPs on the grounds that the TPP Plaintiffs (1) purportedly represented that

they have already produced all relevant documents; and (2) are not required to state

that responsive documents are being withheld or no responsive documents exist, or

to provide the Bates number references to the allegedly produced documents. The

RFPs seek:

      RFP 17:       type of damages sought;
      RFP 18:       documents related to damages claimed;
      RFP 19:       specific Wholesaler from whom damage for Claim is sought;
      RFP 20:       methodology used to calculate damage; and
      RFP 21:       any direct expense that would not have been incurred regardless
                    of drug covered.

      Damage and harm-related discovery is fundamental, routinely ordered in

relevant jurisdictions, and should be so ordered here. See, e.g., Fox v. Cheminova,



11
   To clarify, SMO 82 has two Section II.E.’s, the first being “Damages to TPP Class
Representatives (Requests 17-21)”, and the second being “The Value/Benefit of the
VCDs to the TPPs (Requests 22-27).” This section only addresses the first Section
II.E. regarding Damages to TPP Class Representatives.
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Inc., No. CV 00-5145 (TCP) (ETB), 2006 U.S. Dist. LEXIS 11463, at *25-27

(E.D.N.Y. Mar. 1, 2006); Rawnsley v. Superior Court, 183 Cal. App. 3d 86, 91, 227

Cal. Rptr. 806, 808-09 (1986); Johnston v. Brumlow, Nos. S-14275, 14306, 2012

Alas. LEXIS 115, at *15 (Aug. 29, 2012).

      As discussed above with respect to RFPs 11-16, the Special Master again

incorrectly believed that the TPP Plaintiffs had produced all relevant responsive

documents, when instead the TPP Plaintiffs stated they have produced or would

produce only documents on which they intend to rely. Once again, with respect to

the specific RFPs 17-21, TPP Plaintiffs specifically “offered to produce other

documents, if any, they may rely on at trial.” ECF No. 2443, June 27, 2023, Letter

Brief from Adam Slater to Special Master Vanaskie, at 16 (emphasis added).

Likewise, TPP Plaintiffs, in their tracked proposed changes to RFPs 17-21,

specifically limit their responses to this improper “rely on at trial” standard. ECF

No. 2426-2, Ex. B to June 13, 2023, Letter Brief from Wholesalers to Special Master

Vanaskie.

      The Special Master was also incorrect that the Wholesalers did not contest the

TPP Plaintiffs’ assertion that they had produced all relevant information. To the

contrary, in both their Letter Brief and Reply on this issue, Wholesalers informed

the Court that the TPP Plaintiffs had improperly offered to produce only the

documents on which they intend to rely, not the relevant documents Wholesalers

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sought. ECF No. 2426, June 13, 2023, Letter Brief from Wholesalers to Special

Master Vanaskie; ECF No. 2445, June 30, 2023, Wholesaler Reply. Similarly, at the

hearing on the issue, Wholesalers’ counsel told the Court several times that the TPP

Plaintiffs had agreed to produce the materials on which they intend to rely at trial,

not all relevant documents. ECF No. 2451, July 6, 2023, Hrg. Tr. at 8:14-9:7, 11:25-

12:5, 20:20-21:3. And TPP Plaintiffs did not dispute at the hearing that all they had

produced or would produce are documents on which they intend to rely. See

generally ECF No. 2451, July 6, 2023, Hrg. Tr.

      TPP Plaintiffs also declined to specify as part of their objections whether they

were withholding any responsive documents or whether none existed. FRCP

34(b)(2)(C). As explained above, Wholesalers repeatedly sought an order that TPP

Plaintiffs must state whether they have responsive documents. ECF No. 2426, June

13, 2023, Letter Brief from Wholesalers to Special Master Vanaskie; ECF No. 2445,

June 30, 2023, Wholesaler Reply; ECF No. 2382, May 19, 2023, Hrg. Tr. at 78:4-

14; ECF No. 2451, July 6, 2023, Hrg. Tr. at 7:7-19. TPP Plaintiffs also declined to

cite the relevant Bates numbers regarding documents that have been produced. See

Fed. R. Civ. P. 34(b)(2)(E)(1).

      Because the Special Master erred in finding that the TPP Plaintiffs have

produced all relevant documents responsive to these RFPs, the Court should sustain

the Wholesalers’ objection and order that the TPP Plaintiffs fully respond to RFPs

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17-21, if there are no responsive documents so state, and provide the applicable

Bates numbers for previously-produced responsive documents.

V.    Objection to SMO 82 [Second] Section II.E and II.F. Ruling Regarding
      Value Received by TPPs and Profits Earned by TPPs (RFPs 22-28)
      Wholesalers object to the Special Master’s denial of Wholesalers’ RFPs 22-

28 seeking documents related to (1) the value of the VCDs to the TPPs (SMO 82

[second] Section E); and (2) the profits earned by the TPPs from covering the VCDs

(SMO 82 Section F). ECF No. 2469 at 13-15. Evidence of the value that a plaintiff

receives relative to the conduct alleged to constitute UE is critical to evaluating (1)

whether the plaintiff can prove the basic prima facie elements of UE; and (2) the

proper measure of damages. SMO 82 overlooks the basic elements of UE and the

case law discussing the relevance of the topics sought in Wholesalers’ RFPs. Instead,

SMO 82 relies on only one case from one of the relevant jurisdictions. This case is

readily distinguishable because it focuses on discovery about damages (not liability)

and addresses only the issue of profits (not value more broadly). Wholesalers ask the

Court to modify SMO 82 and allow the discovery sought in RFPs 22 through 28.

      A.     The Value of the VCDs is Relevant and Discoverable With Respect
             to TPP Plaintiffs’ UE Claim
      First, as to the RFPs seeking documents related to the value that the TPPs

received for the VCDs at issue (Nos. 22-27), SMO 82 does not address the case law

cited by Wholesalers in their briefing, see Wholesalers’ June 13, 2023 Letter to Court


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at 3-4, 12, Dkt. 2426, citing In re Gerber Probiotic Sales Practices Pracs. Litig., 306

F.R.D. 527, 529 (D.N.J. 2015); Bauer v. Pourciau, No. CV 18-5611-WBV-MBN,

2020 WL 5542863 (E.D. La. Sept. 16, 2020); Dryer v. Nat’l Football League, No.

09-CV-2182 (PAM/XXX), 2011 WL 13136546 (D. Minn. Jan. 5, 2011), and cites

no contrary legal authority showing that the value of the VCDs to the TPPs is

irrelevant.12

       As the Wholesalers’ briefing explained, the value of the VCDs to the TPPs is

relevant to the essential elements of the TPPs’ UE claim. “To determine whether a

defendant in an unjust enrichment claim enjoyed an appreciation of the benefits

which were conferred ... the issue is whether the value of the benefit conferred

exceeds the value of the consideration he paid for the benefits.” In re Ford Motor

Co. E-350 Van Prods. Liab. Litig. (No. II), No. CIV. A. 03-4558 (GEB), 2010 WL

2813788, at *44 (D.N.J. July 9, 2010), amended, No. CIV.A. 03-4558 (GEB), 2011

WL 601279 (D.N.J. Feb. 16, 2011) (quotations omitted) (emphasis added). Thus, to


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   SMO 82 premises the determination that value of the VCDs to the TPPs is
irrelevant to the UE equities between the parties in these circumstances on the
Court’s statement in its motion to dismiss rulings regarding contractual warranty
claims that the VCDs are economically worthless. ECF No. 2469 at 13 (citing Jan.
22, 2021, Opinion, ECF No. 775 at 20). In addition to the cited language being
inapposite, SMO 82 ignores that the Court, in its ruling on class certification and
related motions to exclude expert testimony, explicitly found that at the merits stage
(where plaintiffs’ allegations are not given the same presumption of accuracy as at
the motion to dismiss stage), whether the VCDs are economically worthless is a
question reserved for the factfinder. ECF No. 2261 at 22-23, 85-89.

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determine whether Wholesalers’ retention of profits on the VCDs was “unjust,” the

factfinder must consider whether the value of the benefit TPPs conferred upon

Wholesalers—i.e., Wholesalers’ profits—exceeded the value of the VCDs to the

TPPs. To evaluate this question requires evidence of value to the TPPs, which the

RFPs at issue seek.

      As explained in jurisdictions whose law will be applied to the certified UE

claims, “[t]he elements necessary to prove unjust enrichment are: (1) benefits

conferred on defendant by plaintiff; (2) appreciation of such benefits by defendant;

and (3) acceptance and retention of such benefits under such circumstances that it

would be inequitable for defendant to retain the benefit without payment of value.

The application of the doctrine depends on the particular factual circumstances of

the case at issue.” See, e.g., Durst v. Milroy Gen. Contracting, Inc., 2012 PA Super

179, 52 A.3d 357, 360 (2012) (citation omitted) (emphasis added); Thieme v.

Aucoin-Thieme, 227 N.J. 269, 288, 151 A.3d 545, 557 (2016) (“To prove a claim for

unjust enrichment, a party must demonstrate that the opposing party ‘received a

benefit and that retention of that benefit without payment would be unjust.’”)

(internal citations omitted). As an equitable remedy, UE requires analyzing the

extent of unjustness of any “enrichment,” which will vary depending on the specific

circumstances of each claim. Because a plaintiff asserting a UE claim is entitled only

to the portion of profits that would be inequitable to retain in light of all the

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circumstances, the conduct of the defendant from whom the plaintiff seeks to recover

is not the only consideration. See, e.g., In re McCormick & Co., Inc., Pepper Prods.

Mktg. & Sales Pracs. Litig., 422 F.Supp.3d 194, 232 (D.D.C. 2019) (UE requires “a

fact-intensive inquiry that focuses on the totality of the circumstances, not just

defendants’ conduct.”) (emphasis added).

      Case law from relevant jurisdictions confirms that the value of the VCDs to

the TPPS is also relevant to the appropriate measure of UE damages. Jones v.

Monsanto Co., No. 19-0102-CV-W-BP, 2021 WL 2426126, at *6 (W.D. Mo. May

13, 2021) (“[t]he measure of damages” for UE “requires consideration of the fact

that the consumers … received some value from their purchase.”) (emphasis added);

see also Off. Stanford Invs. Comm. v. Am. Lebanese Syrian Associated Charities,

Inc., No. 3:11-CV-0303-N, 2015 WL 13739835, at *13 (N.D. Tex. July 22, 2015)

(denying plaintiff’s motion for summary judgment because “a fact question remains

as to whether Stanford received some value in exchange for the transfers, and thus

whether Le Bonheur is entitled to a corresponding reduction in [UE] damages.”).

      B.     The Profits TPP Plaintiffs Earned By Covering VCDs is Relevant
             and Discoverable
      As to the specific issue of the profits that the TPPs received from covering the

VCDs (RFP 28), SMO 82 relies on a single inapposite case from just one of the

many jurisdictions at issue to conclude that the TPPs’ profits are irrelevant and thus

not appropriate for discovery. In Cohan v. Minicozzi, an attorney sued his former

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client demanding payment for legal services rendered. No. NNHCV156052856,

2016 WL 5798900 (Conn. Super. Ct. Sept. 2, 2016). There, unlike in this case,

liability for unjust enrichment was not at issue. Instead, the only dispute was the

amount of damages—the measure of exactly how much benefit was conferred as a

result of the legal services for which the defendant refused to pay. Id. In dicta, the

court said that “plaintiff’s recovery for unjust enrichment is based, not on plaintiff’s

loss, but defendant’s gain.” Id. at *3. The court noted it was “impossible to quantify,

in dollars, the benefit conferred by plaintiff” on the defendant through the legal work,

such that the court could rely only on the measure of contractual damages. Id.

Because the attorney’s work gave rise to the favorable legal outcome, the court

posited that “the best measure of the benefit” to the defendant was the “reasonable

value” of the “services giving rise to that result.” Id.

      The Cohan court had no reason to evaluate the particular circumstances of the

parties’ conduct. Nor was there any argument made, or discussion by the court, about

the benefits that the attorney may have enjoyed from the favorable legal outcome

beyond payment for his services. The court was interested only in determining an

appropriate amount of damages. The questions of whether it was “unjust” for the

defendant to not pay for the services, and whether the specific circumstances

affected that determination of unjustness, were not raised and not at issue. Cohan is

inapplicable for multiple reasons: (1) it does not address whether the benefit to the

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plaintiff is relevant to liability under a UE claim; (2) it relates solely to profits (one

measure of value), not value more broadly; (3) it is dicta in only one of the relevant

jurisdictions; and (4) it does not provide contrary authority to the law of the multiple

relevant jurisdictions cited by Wholesalers.

         By contrast, in analogous cases in which a plaintiff seeks disgorgement of

profits from a defendant, multiple other courts have found that if the plaintiff also

profited or received value from the defendant’s alleged misconduct, such profits or

value are discoverable. For example, in Dryer v. Nat’l Football League, NFL

players sued the NFL for unjustly profiting off their publicity rights. 2011 WL

13136546, at *1. The NFL argued that “to the extent Plaintiffs have profited

commercially, the NFL is entitled to discovery regarding the players’ publicity

rights.” Id. The court agreed and granted the NFL’s requested discovery: “[b]ased

on the allegations in the Amended Complaint regarding the use of Plaintiffs’

identities and claims of unjust enrichment, and Defendant’s asserted defenses … the

Court finds that to the extent that Plaintiffs have used their identity rights

commercially … such documents are relevant” and “[t]o the extent that documents

reflect the value of those identity rights, such documents are likewise relevant.” Id.

at *2.

         Similarly, in Bauer v. Pourciau, the plaintiff “contend[ed] that the Defendants

are unjustly enriched in the amount of their profits” from appropriation of the

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plaintiff’s intellectual property rights. 2020 WL 5542863, at *2. The court rejected

the plaintiff’s argument that “he need not produce documents related to the value of

[his] intellectual property” because the value “is not related solely to the damages of

an unjust enrichment claim, but rather is an essential element of the claim.” Id.

(emphasis added).

      Moreover, as argued in their briefing and at oral argument on RFP 28,

evidence of TPP profits earned on covering the VCDs at issue is also relevant to

Wholesalers’ unclean hands defense. As generally described, the unclean hands

defense applies “when the party seeking relief is guilty of fraud, unconscionable

conduct, or bad faith directly related to the matter at issue that injures the other party

and affects the balance of equities.” Paramount Aviation Corp. v. Agusta, 178 F.3d

132, 147 n. 12 (3d Cir. 1999). Wholesalers allege that they are no different from the

TPPs, as both groups transferred VCDs without knowing that they were

contaminated—thus if Wholesalers are liable for bad conduct then so, too, are the

TPPs—or neither are. SMO 82 attempts to distinguish the positions of the parties,

but that decision is up to the factfinder, and the evidence of TPP profits is thus

relevant and discoverable.

      If TPPs received value in relation to the VCDs at issue, or if they directly

profited from their coverage of the VCDs, those benefits are relevant to the essential

elements of the TPPs’ UE claim, the TPPs’ UE damages, and Wholesalers’ unclean

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hands defense. Merrill Lynch, Pierce, Fenner & Smith Inc. v. Callahan, 265

F.Supp.2d 440, 444 (D. Vt. 2003).

                                CONCLUSION
      For the reasons discussed above, Wholesalers respectfully object to the

Special Master’s findings in SMO 82 and ask the Court to modify SMO 82 to require

TPP Plaintiffs to properly respond to RFPs 7 through 28.

Dated: September 1, 2023                 Respectfully submitted,


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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 1, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to all CM/ECF participants in this matter.

                                               /s/ Jeffrey D. Geoppinger
                                               Jeffrey D. Geoppinger




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